                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI



 SCOTT AND RHONDA BURNETT, RYAN
 HENDRICKSON, JEROD BREIT, SCOTT
 TRUPIANO, JEREMY KEEL, HOLLEE
 ELLIS, and FRANCES HARVEY, on behalf of                   Case No. 4:19-cv-00332-SRB
 themselves and all others similarly situated,
                                                           CLASS ACTION
                             Plaintiffs,

                 v.

 THE NATIONAL ASSOCIATION OF
 REALTORS, REALOGY HOLDINGS CORP.,
 HOMESERVICES OF AMERICA, INC., BHH
 AFFILIATES, LLC, RE/MAX LLC, and
 KELLER WILLIAMS REALTY, INC.,

                             Defendants.


 DEFENDANTS’ MOTION TO CERTIFY THE COURT’S PER SE DETERMINATION
           FOR IMMEDIATE APPEAL UNDER 28 U.S.C. § 1292(b)

       Defendants respectfully move under 28 U.S.C. § 1292(b) and Federal Rule of Appellate

Procedure 5(a)(3) for an order certifying this Court’s December 16, 2022 Order (Doc. 1019)—

holding the per se rule applies to Plaintiffs’ antitrust claims—for immediate appeal.

                                           INTRODUCTION

       This Court took care in deciding Defendants’ motions for summary judgment, following

extensive briefing and robust argument. Its December 16 Order held that Plaintiffs’ central claim

in this case—that “Defendants implemented or enforced Section 2-G-1” of the National

Association of Realtors’ MLS Handbook “with the purpose and effect of inflating or stabilizing

broker commission rates”—states a “per se” violation of the Sherman Act. Doc. 1019, at 20-21.

That ruling will have a profound impact on trial. And it is certain to require a re-trial if Plaintiffs




        Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 1 of 14
win and the Eighth Circuit later holds that Plaintiffs’ claims should have been assessed under the

presumptively applicable rule of reason. Section 1292(b) exists to avoid that kind of risk.

       While the Court undoubtedly considered its per se determination carefully, the issue is

complex. Although the Eighth Circuit has not weighed in, courts across the country have held that

MLS rules—even rules alleged to stabilize or inflate prices—are subject to the rule of reason rather

than per se condemnation. See, e.g., Robertson v. Sea Pines Real Est. Cos., 679 F.3d 278, 290

(4th Cir. 2012) (membership criteria); Reifert v. S. Cent. Wisc. MLS Corp., 450 F.3d 312, 321 (7th

Cir. 2006) (anti-solicitation rule); Thompson v. Metro Multi-List, Inc., 934 F.2d 1566, 1580 (11th

Cir. 1991) (membership criteria); Supermarket of Homes, Inc. v. San Fernando Valley Bd. of

Realtors, 786 F.2d 1400, 1407 (9th Cir. 1986) (steering); United States v. Realty Multi-List, Inc.,

629 F.2d 1351, 1361-62 (5th Cir. 1980) (membership criteria). And they have cast doubt on the

80-year-old decision in United States v. Socony-Vacuum Oil Co., 310 U.S. 150 (1940), which this

Court invoked. See In re Sulfuric Acid Antitrust Litig., 703 F.3d 1004, 1010-12 (7th Cir. 2012)

(Posner, J.) (observing the Supreme Court’s later decisions have limited Socony); Rothery Storage

& Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210, 229 (D.C. Cir. 1986) (Bork, J.) (similar).

       The stakes could not be higher. Although the class is limited to home sellers in Missouri,

the challenged rules govern MLSs nationwide, affecting most residential real estate transactions

in the United States. The trial has been continued to October. Given the enormous stakes, the

dearth of Eighth Circuit authority, and the contrary views of most appellate courts that have

addressed the issue, getting the Eighth Circuit’s input now would best serve the interests of justice.

                                           ARGUMENT

       Section 1292(b) allows immediate appeals of interlocutory orders that involve (1) a

“controlling question of law,” (2) as to which there is “substantial ground for difference of




                                    2
       Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 2 of 14
opinion,” and (3) on which an immediate appeal “may materially advance the ultimate termination

of the litigation.” This case easily checks every box.

I.      This Court’s December 16 Order Addresses A “Controlling Question Of Law”

        An order involves a “controlling” question when it resolves a legal issue “likely to affect

the further course of the litigation.” Sokaogon Gaming Enter. Corp. v. Tushie-Montgomery

Assocs., Inc., 86 F.3d 656, 659 (7th Cir. 1996) (accepting § 1292(b) certification, even though the

impact of the issue on the outcome was uncertain); see also, e.g., Emerson Elec. Co. v. Yeo, No.

12-cv-1578 JAR, 2013 WL 440578, at *2 (E.D. Mo. Feb. 5, 2013) (collecting cases and certifying

order where question would be reviewed de novo and a contrary answer would require dismissal).

This Court’s December 16 Order did just that.

        The Eighth Circuit has held that the choice of which antitrust standard governs is a pure

question of law. That is true even where the standard’s selection or application involve factual

questions. See, e.g., Craftsmen Limousine, Inc. v. Ford Motor Co., 363 F.3d 761, 772 (8th Cir.

2004) (“Although a court’s determination that the per se rule applies ‘might involve many fact

questions, the selection of a mode of analysis is entirely a question of law.’ ”) (brackets omitted;

emphasis added). Getting the answer wrong mandates reversal of a verdict against a defendant.

See, e.g., id. at 772-73 (reviewing per se ruling de novo, and reversing and remanding for a new

trial under the rule of reason); Lewis Serv. Ctr., Inc. v. Mack Trucks, Inc., 714 F.2d 842, 848 (8th

Cir. 1983) (similar, but directing district court to dismiss on remand). “There is no doubt that a

question is ‘controlling’ if its incorrect disposition would require reversal of a final judgment . . . .”

Charles Alan Wright et al., 16 Fed. Prac. & Proc. § 3930 (3d ed. 2012).

        Courts of appeals regularly decide virtually identical questions on appeal under § 1292(b).

See, e.g., Robertson v. Sea Pines Real Estate Cos., Inc., 679 F.3d 278, 283 (4th Cir. 2012)

(addressing applicability of per se rule in 1292(b) appeal from denial of a motion to dismiss); In


                                     3
        Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 3 of 14
re Cardizem CD Antitrust Litig., 332 F.3d 896, 905 (6th Cir. 2003) (similar, denial of motion to

dismiss and grant of summary judgment to plaintiffs on the applicable antitrust standard).

       Like the orders appealed in those cases, this Court’s order presents the per se question

cleanly. The Eighth Circuit has cautioned against taking interlocutory appeals where threshold

issues such as standing remain unresolved, or where additional factfinding is needed. See Paschall

v. Kansas City Star Co., 605 F.2d 403, 409 (8th Cir. 1979) (antitrust question not ripe for § 1292(b)

review where district court had not considered plaintiffs’ standing); S.B.L. By & Through T.B. v.

Evans, 80 F.3d 307, 311 (8th Cir. 1996) (record did not allow court to frame the question on

appeal). None of those problems are present here. The December 16 Order addressed all threshold

issues, and the parties have completed extensive merits discovery. The Eighth Circuit will have

everything it needs to decide the question.

II.    There Is “Substantial Ground For Difference Of Opinion” As To Whether The Per
       Se Rule Applies To Plaintiffs’ Antitrust Claims

       Certification is also warranted because this Court’s determination that the per se rule

applies presents a “substantial ground for difference of opinion.” 28 U.S.C. § 1292(b). That

requirement is easily met where, as here, the order addresses a “question of first impression in the

Eighth Circuit,” Parker v. Clarke, 910 F. Supp. 460, 462 (E.D. Mo. 1995), and most other courts

have answered it differently from the district court, White v. Nix, 43 F.3d 374, 378 (8th Cir. 1994)

(“identification of ‘a sufficient number of conflicting and contradictory opinions’ . . . provide[s]

substantial ground for disagreement”). The Eighth Circuit has never addressed the legal standard

appropriate for challenges to MLS rules. And the majority of courts that have addressed that

question, including five federal courts of appeals, have applied the rule of reason.

       “The level of uncertainty required to find a substantial ground for difference of opinion

should be adjusted to meet the importance of the question in the context of the specific case.”



                                    4
       Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 4 of 14
Wright et al., 16 Fed. Prac. & Proc. § 3930. Given the extraordinary stakes here, the dearth of

Eighth Circuit precedent, and the many decisions holding that the rule of reason applies in cases

like this one, the per se ruling merits certification.

        A.      Courts of Appeals Across the Country Have Taken a Contrary Approach,
                Assessing MLS Rules Under the Rule of Reason

        This Court’s December 16 Order concluded that Section 2-G-1 is subject to per se analysis

because it is alleged to be a horizontal agreement to stabilize or inflate prices. Doc. 1019 at 20-

21. The Supreme Court has cautioned, however, that the “ ‘rule of reason’ [is] the prevailing

standard of analysis” under Section 1. Continental T.V., Inc. v. GTE Sylvania Inc., 433 U.S. 36,

49 (1977); see Business Elecs. Corp. v. Sharp Elecs. Corp., 485 U.S. 717, 726 (1988) (“there is a

presumption in favor of a rule-of-reason standard”). Any “departure” from that standard “must be

based upon demonstrable economic effect” that allows courts to “predict with confidence” that a

restraint “would be invalidated in all or almost all instances under the rule of reason.” Leegin

Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 886-87 (2007).

        Courts of appeals across the country have found that the benefits of the MLS system make

it impossible to make that required confident prediction when it comes to MLS rules. Those courts

have held that MLS rules must be assessed under the rule of reason even when they are alleged to

stabilize or inflate prices. That establishes a substantial ground for difference of opinion on what

standard applies here.

        For example, in Robertson v. Sea Pines Real Estate Companies, Inc., 679 F.3d 278 (4th

Cir. 2012), the Fourth Circuit held that “the cooperative actions of MLS members are not per se

unreasonable.” Id. at 290 (emphasis added). As here, the complaints in Robertson alleged that

certain MLS rules had the effect of “stabiliz[ing] prices.” Id. at 285; see Doc. 759 at ¶ 105. The

district court held that the per se rule applied. See Boland v. Consol. Multiple Listing Serv., Inc.,



                                     5
        Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 5 of 14
868 F. Supp. 2d 506, 516 (D.S.C. 2011). But the court recognized that the issue was “difficult[],”

and certified its order for immediate appeal under § 1292(b). Id. at 519. The Fourth Circuit

accepted the certification and reversed, holding that “the restraints at issue should be evaluated at

the merits stage according to the rule of reason, traditionally applied to joint venture cooperation

that has possible procompetitive justifications.” Robertson, 679 F.3d at 290 (emphasis added).

       The Seventh Circuit reached the same conclusion in Reifert v. South Central Wisconsin

MLS Corp., 450 F.3d 312 (7th Cir. 2006), holding that a challenge to an MLS rule “must ” be

reviewed “under the rule of reason to determine whether [the rule] contributes to competition and

productivity.” Id. at 321 (emphasis added). As here, the complaint in Reifert alleged that the NAR

Code of Ethics violated Section 1 of the Sherman Act by “prohibiting competition” among listing

agents. Id. at 315; see Doc. 759 at ¶¶ 114-115, 139. The rule at issue barred MLS members from

telling sellers under contract with a listing agent about “superior services or prices” that might be

available from competing agents. Reifert, 450 F.3d at 315. Despite that rule’s obvious price

impact, the court applied the rule of reason and held that it was not anticompetitive because it “aids

competition and fulfills the purposes of the Sherman Act” by making it more likely that agents

would be willing to list their properties on an MLS. Id. at 321.

       The Ninth Circuit’s decision in Supermarket of Homes, Inc. v. San Fernando Valley Board

of Realtors, 786 F.2d 1400 (9th Cir. 1986), is similar. As here, the plaintiff in that case alleged

that MLS rules “fixe[d] commissions” and facilitated “steering” by flagging discount listings that

offered less than half the “ ‘going rate’ commission of six per cent.” Id. at 1403, 1406; see Doc.

759 at ¶¶ 95, 97. Yet the Ninth Circuit held that the “exchange of price information” in MLS

listings “is judged under the rule of reason” absent evidence of an agreement to set those prices.




                                    6
       Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 6 of 14
Supermarket of Homes, 786 F.2d at 1407 (emphasis added). The same is true of Section 2-G-1,

which requires only that listing agents state how much they are willing to offer.

       The Fifth Circuit has likewise held that MLS rules “do not warrant per se treatment.”

United States v. Realty Multi-List, Inc., 629 F.2d 1351, 1367 (5th Cir. 1980) (emphasis added); see

Pope v. Mississippi Real Est. Comm’n, 872 F.2d 127, 130 (5th Cir. 1989) (same). The government

in Realty Multi-List accused an MLS of facilitating a group boycott—a type of restraint repeatedly

“declared to be [a] per se violation[ ] of Section 1.” 629 F.3d at 1365. Given the evolution of the

per se rule, however, the Fifth Circuit concluded that it was necessary to consider whether the

challenged rules were “at least potentially reasonably ancillary to joint, efficiency-creating

economic activities” under the rule of reason. Id. at 1367.

       The Eleventh Circuit followed that reasoning in Thompson v. Metro Multi-List, Inc., 934

F.2d 1566 (11th Cir. 1991), holding that an MLS’s “membership requirements are not per se

antitrust violations.” Id. at 1580. As in the Fifth Circuit’s Realty Multi-List decision, the plaintiffs

alleged that an MLS’s membership rules constituted a group boycott. Id. at 1571. Citing that

decision and the “many pro-competitive effects” of MLSs, the Eleventh Circuit applied the rule of

reason, instead. Id. at 1568, 1580.

       In short, five federal courts of appeals, in decisions spanning more than 40 years, have held

that MLS rules are subject to the rule of reason even when assessing claims that would otherwise

be subject to the per se rule. That establishes “substantial ground for difference of opinion”

regarding the standard here. 28 U.S.C. § 1292(b).

       B.      Courts Have Also Read Socony Differently, Rejecting a Literal Application of
               its Statement of the Per Se Rule

       The December 16 Order cited United States v. Socony-Vacuum Oil Co., 310 U.S. 150

(1940), which Plaintiffs invoked for its statement that concerted action “for the purpose and with



                                     7
        Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 7 of 14
the effect of raising, depressing, fixing, pegging, or stabilizing” prices is “illegal per se.” Id. at

223; see Doc. 1019 at 18, 20-21; Doc. 956 at 16. But courts and scholars have cautioned that

Socony’s 80-year-old language does not survive Broadcast Music, Inc. v. Columbia Broadcasting

System, Inc. (“BMI ”), 441 U.S. 1 (1979). Those views establish further “ground for difference of

opinion” regarding the Court’s ruling. 28 U.S.C. § 1292(b).

       “Taken literally,” Socony “would outlaw” practices the Supreme Court has since held do

not qualify for per se treatment, including the arrangement upheld in BMI. In re Sulfuric Acid

Antitrust Litig., 703 F.3d 1004, 1010-12 (7th Cir. 2012) (Posner, J.); see Rothery Storage & Van

Co. v. Atlas Van Lines, Inc., 792 F.2d 210, 229 (D.C. Cir. 1986) (Bork, J.) (observing that BMI

“effectively overruled ” the notion that “all horizontal restraints” are per se illegal (emphasis

added)); McCarthy v. Intercontinental Exch., Inc., No. 20-cv-05832-JD, 2021 WL 6072817, at *3-

4 (N.D. Cal. Dec. 23, 2021) (observing that “the Supreme Court has repeatedly cautioned since

Socony that the antitrust laws should not be applied in such a rote manner”).

       Indeed, the Supreme Court has relied on BMI as an example of its general reluctance “to

condemn rules adopted by professional associations as unreasonable per se.” F.T.C. v. Indiana

Fed’n of Dentists, 476 U.S. 447, 458 (1986). And other courts have recognized that BMI changed

the way courts look at trade association rules across the board. Thus, the Fifth Circuit held that

MLS rules had to be assessed under the rule of reason “in light of the BMI case.” Realty Multi-

List, 629 F.2d at 1367 (emphasis added). The Third Circuit likewise relied on BMI to hold that

even restraints involving “price-fixing in ‘a literal sense,’ ” do not “automatically qualif [y] as per

se illegal price-fixing.” United States v. Brown Univ., 5 F.3d 658, 670 (3d Cir. 1993). Although

this Court distinguished BMI on its facts, those other courts have not limited it that way.




                                     8
        Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 8 of 14
       Socony’s categorical approach to antitrust has been replaced by a broad consensus that per

se treatment applies only to restraints that have “ ‘no purpose except stifling of competition.’ ” Aya

Healthcare Servs., Inc. v. AMN Healthcare, Inc., 9 F.4th 1102, 1109 (9th Cir. 2021) (emphasis

added). Court after court has found that MLS rules do not fit that bill. See II.A, supra. Section

2-G-1 is no different. Plaintiffs do not even allege that the rule requires listing agents to offer any

particular level or range of commission rates, or that the rates offered under the rule are otherwise

set by agreement. Doc. 990 at 6 n.6. That takes this case out of the narrow range of restraints,

such as “naked” price fixing, subject to per se treatment. See Nat’l Ass’n of Review Appraisers &

Mortg. Underwriters v. Appraisal Found., 64 F.3d 1130, 1133 (8th Cir. 1995) (“[C]ourts should

hesitate to apply a per se rule when there is a question as to the extent of a practice’s economic

impact”); Realty Multi-List, 629 F.2d at 1365 (per se rules apply only to “naked” restraints).

                                          *       *       *

       Given the dearth of Eighth Circuit precedent, the contrary decisions of most courts to

address the per se issue in this context, and the nationwide importance of this case, even a court

“confident in its decision” should not hesitate to certify its order for immediate appeal. Saunders

v. Ace Mortg. Funding, Inc., No. 05-cv-1437, 2007 WL 2008677, at *2 (D. Minn. July 6, 2007)

(nevertheless certifying question); Rural Water Dist. No. 4 v. City of Eudora, Kan., 875 F. Supp.

2d 1260, 1274 (D. Kan. 2012) (same); Miara v. First Allmerica Fin. Life Ins. Co., 379 F. Supp. 2d

20, 69-70 (D. Mass. 2005) (same). This Court should follow that path here.

III.   Immediate Appeal Would “Materially Advance The Ultimate Termination Of The
       Litigation”

       Getting an answer from the Eighth Circuit now would reduce the risk of an expensive and

time-consuming retrial later. This Court has recognized that trying this case once will be time-

consuming and expensive. A trial under the wrong standard would require a do-over if Plaintiffs



                                     9
        Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 9 of 14
win. There is no point in taking that risk, especially now that the trial has been continued and there

are no imminent deadlines in the case. See, e.g., In re Gen. Motors LLC Ignition Switch Litig., 427

F. Supp. 3d 374, 393 (S.D.N.Y. 2019) (certification warranted because “reversal after trial might

well require a new trial”); Nat’l Veterans Legal Servs. Program v. United States, 321 F. Supp. 3d

150, 155 (D.D.C. 2018); Tenn. Gas Pipeline Co. v. Permanent Easement for 7.053 Acres, No.

3:12-cv-01477, 2017 WL 4954093, at *2 (M.D. Pa. Nov. 1, 2017); In re Vitamins Antitrust Litig.,

No. 1285, 2000 WL 33142129, at *2 (D.D.C. Nov. 22, 2000).

       While this Court has ordered mediation (Doc. 1023), an immediate appeal on the applicable

antitrust standard may help there, too. A ruling that MLS rules are subject to the per se rule will

complicate any efforts to settle this case. Allowing for review by the Eighth Circuit will permit

the parties to assess better the impact of this case and enhance the likelihood that they can reach a

common ground. See, e.g., Sterk v. Redbox Automated Retail, LLC, 672 F.3d 535, 536 (7th Cir.

2012) (appeal’s potential to advance settlement efforts “is enough to satisfy the ‘may materially

advance’ clause of section 1292(b)”). That is yet another reason to certify the per se determination.

                                          CONCLUSION

       For these reasons, Defendants respectfully request that the Court allow the Eighth Circuit

to review the applicability of the per se rule in this case by exercising the Court’s authority under

Federal Rule of Appellate Procedure 5(a)(3) to amend the December 12 Order to state that

(1) whether Section 2-G-1 should be assessed as a per se restraint is a controlling question of law

as to which (2) there is substantial ground for difference of opinion, and that (3) an immediate

appeal from the Order may materially advance the ultimate termination of the litigation.




                                     10
       Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 10 of 14
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     Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 11 of 14
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                                  12
    Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 12 of 14
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                                   13
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                              14
Case 4:19-cv-00332-SRB Document 1024 Filed 12/30/22 Page 14 of 14
